Case 1:19-cv-02594-RM-SKC Document 187-2 Filed 11/16/20 USDC Colorado Page 1 of 4

   

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SAINT VINCENT AND THE GRENADINES
INTERNATIONAL BUSINESS COMPANIES (AMENDMENT AND CONSOLIDATION) ACT,
CHAPTER 149 OF THE REVISED LAWS OF SAINT VINCENT AND THE GRENADINES, 2009

(Section 5 (1))

Certificate of Incorporation

Blue Isle Markets Inc.
(NAME OF INTERNATIONAL BUSINESS COMPANY)

23098 IBC 2015
~ (INTERNATIONAL BUSINESS COMPANY NUMBER)

| HEREBY CERTIFY THAT THE ABOVE-MENTIONED INTERNATIONAL BUSINESS COMPANY,
THE ARTICLES OF INCORPORATION OF WHICH ARE ATTACHED HERETO, WAS INCORPORATED UNDER THE
INTERNATIONAL BUSINESS COMPANIES (AMENDMENT AND CONSOLIDATION) ACT, CHAPTER 149 OF THE REVISED
Laws OF SAONT VINCENT AND THE GRENADINES, 2009 ON

2nd December, 2015
DATE OF INCORPORATION

    

REGISTRAR OF F INTERNATIONAL
BUSI INESS:COMPANIES "°° Z

  

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NEW ZEALAND ~

-> COMPANIES
&@ REGISTER

Certificate of Incorporation

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This is to certify that AMG CONSULTANCY LIMITED was incorporated under the Companies Act 1993
on the 11th day of September 2017
and changed its name to BLUE ISLE MARKETS LIMITED on the 6th day of December 2018.

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Registrar of Companies
8th day of February 2019

 

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Case 1:19-cv-02594-RM-SKC Document 187-2 Filed 11/16/20 USDC Colorado (Page 3 of 4

    
 
 
  
  

 

APOSTILLE
(Convention de La Haye du 5 Octobre 1961)

Country: COMMONWEALTH OF THE BAHAMAS
This public document

has been signed by TAMSIN A. D. CATES

acting in the capacity of NOTARY PUBLIC

COMMONWEALTH OF THE BAHAMAS

bears the seal TAMSIN A. D. CATES
NASSAU, NEW PROVIDENCE, THE BAHAMAS

CERTIFIED

6. 9"™ MARCH, 2016

 

at_NASSAU

 

 

3ORAH A. BAIN , FIRST ASSISTANT SECRETARY

MINISTRY OF FOREIGN AFFAIRS

10: Signature EXHIBIT

3

 

Of
FIRST ASSISTANT SECRETARY

MINISTRY OF FOREIGN AFFAIRS
COMMONWEF AI TH OF THE RAHAMAS
Case 1:19-cv-02594-RM-SKC Document 187-2 Filed 11/16/20 USDC Colorado Page 4 of 4

UNLIMITED POWER OF ATTORNEY

I, Nancy Ruth Lake, currently residing at 7 Davick Dr., Etobicoke, Ontario Canada M8W 2C8, the current
Director and 100% Shareholder for Blue Isle Markets Inc. (the Company), a St Vincent and the
Grenadines International Business Corporation, hereby grants an Unlimited Power of Attorney to
Michael Shawn Stewart who currently resides at 32531 N Scottsdale Rd 105-155, Scottsdale AZ 85266,
Michael Stephen Young who currently resides at 8154 W Trenton Way, Centennial CO 80112, and
Bryant Edwin Sewall, who currently resides at 2009 Cannes Dr., Plano TX 75025, to act as my Attorneys-
In-Fact. | hereby give my unlimited Power of Attorney, the maximum power allowed under law, to
perform any act on my behalf for Blue isie Markets Inc. that | could do personally. These acts include,
but are not limited to, all acts that relate to any and all of the Company’s financial transactions, any and
all Company business affairs, including opening any Company banking and financial institution accounts
and transactions, Company real estate or property transactions, all Company insurance and annuity
transactions, all Company claims and litigation, and any and all business transactions. My Attorneys-In-
Fact are granted full power to act on my behalf in the same manner as if | were personally present.
Furthermore, my Attorneys-In-Fact accept this appointment, and agree to act in my best interests as
they consider advisable. My Attorneys-In-Fact shall not be compensated for the services that they
provide, neither shall my Attorneys-In-Fact be liable to me, my estate, heirs, successors, or assigns for
acting or refraining to act under this document. The only way that they will be held liable is in cases of
willful misconduct or gross negligence. My Attorneys-In-Fact may submit this Power of Attorney to any
third party for the Company use and those who receive a signed copy of this document may act under it

as well.

DATED this _9 7#day of March, 2016

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Dh XE
Nancy Lake, Director)
Blue Isle Markets In¢é.

BEFORE ME

 

 

Ndtary Public

 

My commission expires: 3 I Peco var Zolb
